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              UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
__________________________________________
                                           )
SOLAR ENERGY INDUSTRIES                   )
ASSOCIATION, NEXTERA ENERGY, INC.,         )
INVENERGY RENEWABLES LLC, and EDF          )
RENEWABLES, INC.,                          )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   ) Court No. 20-03941
                                           )
UNITED STATES, ET AL.,                     )
                                           )
            Defendants.                    )
__________________________________________)

                                 NOTICE OF APPEAL

       Notice is hereby given that the defendants in the above-captioned action hereby

appeal to the United States Court of Appeals for the Federal Circuit from the final

judgment and accompanying order and opinion, Slip op. 21-154, entered on November

16, 2021.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General



                                             PATRICIA M. McCARTHY
                                             Director



                                             /s/Tara K. Hogan
                                             TARA K. HOGAN
                                             Assistant Director
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                                 /s/ Joshua E. Kurland
                                 JOSHUA E. KURLAND
                                 Trial Attorney
                                 Department of Justice
                                 Commercial Litigation Branch
                                 P.O. Box 480, Ben Franklin Station
                                 Washington, D.C. 20044
                                 Tel: (202) 616-0477
                                 Fax: (202) 307-0972
                                 Email: Joshua.E.Kurland@usdoj.gov

January 14, 2022                 Attorneys for Defendants




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